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                                          Exhibit 5
                                        (Levitan ‘040)

  ‘892 Patent


   Claim                              Levitan (U.S. Patent No. 6,059,040)

   1. A plunger for performing        Levitan shows it is known to have plungers performing well
   plunger lift in a gas producing    lift by using pressure to raise the plunger and remove liquids
   well, the plunger comprising:      and/or contaminants. See ‘040 at 2:45-50, Abstract, Figs. 1-
                                      2.
   a plunger body for sealingly       Levitan shows it is known to have a plunger body that is
   engaging a tubing of the well;     sized with a diameter close to the inner diameter of the well
                                      tubing, thus sealingly engaging with the tubing of the well. In
                                      other words, it is known that a plunger needs a sufficiently
                                      tight fit within the tubing to afford a sufficiently effective seal
                                      in order to perform plunger lift. See ‘040 Fig. 1 (M, 2 and 3);
                                      see also ‘040 at 4:41-58.
   a narrow passageway within         Levitan shows it is known to have a plunger with a fluid path
   the fluid path;                    through a bore or similar space through the plunger, where
                                      that space changes shape and/or diameter to create a
                                      narrow passageway within the fluid path. See ‘040 at 2:45-
                                      3:11, 5:45-62, Figs. 2, 4 (13).
   and a central orifice at an end    Levitan shows it is known to have a plunger where the
   of the narrow passageway.          narrow passageway ends by connecting to a larger opening,
                                      such as the upper portion of the fluid path, which is a central
                                      orifice at the end of the narrow passageway. See ‘040 at
                                      2:45-3:11, 5:45-62, Figs. 2, 4 (14)
   2. A plunger as defined in claim   See analysis for claim 1 above. Levitan shows it is known to
   1, further comprising a radially   have a plunger with a lip, or what are called fishing lips or
   inwardly directed lip within the   fishing necks, spaced above the central orifice. See ‘040 at
   fluid path spaced above the        4:52-58, Fig. 1. It is known to have a plunger that has a lip or
   central orifice.                   fishing neck that is radially inwardly directed. See ‘040 Fig.
                                      5.
   3. A plunger as defined in claim   See analysis for claim 2 above. Levitan shows it is known to
   2, wherein the distance            have a plunger wherein the distance between a central orifice
   between the central orifice and    and the lip is in the range of 10-60% of the total length of the
   the lip is between 10% and         body of the plunger. See ‘040 Fig. 1.
   60% of the total length of a
   body of the plunger.
   4. A plunger as defined in claim   See analysis for claim 1 above. Levitan shows it is known to
   1, wherein the fluid path          have a plunger with a chamber below the narrower
   comprises a lower chamber          passageway and a chamber above the narrow passageway.
   below the narrow passageway        See ‘040 Figs. 2 and 4 (12 & 14). It is also known to have a
   and an upper chamber above         passageway, and a narrower passageway, between the
   the narrow passageway.             different passageways to allow a fluid path particularly when


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                                       the plunger is moving downward in the well. See ‘040 at
                                       2:45-3:11, Fig. 1.
   5. A plunger as defined in claim    See analysis for claim 4 above. Levitan shows a plunger with
   4, wherein the diameter of the      the diameter of a narrow passageway that is less than the
   narrow passageway is less           diameter of the chamber in which the fluid flows. See ‘040
   than the diameter of the lower      Figs. 1 (S), 2 and 4 (13); see also ‘040 at 5:55-62, 6:2-5.
   and upper chambers.
   6. A plunger as defined in claim    See analysis for claim 4 above. Levitan shows it is known to
   4, comprising a radially            have a plunger with a lip spaced above the central orifice.
   inwardly directed lip within the    See ‘040 at 4:52-58, Fig. 1. It is known to have a plunger
   fluid path spaced above the         that has a lip or fishing neck that is radially inwardly directed
   central orifice, wherein the        and located on an upper edge. See ‘040 Fig. 5.
   radially inwardly directed lip is
   on an upper edge of the upper
   chamber.
   7. A plunger as defined in claim    See analysis for claim 5 above. Levitan shows it is known to
   5, wherein the upper chamber,       have a plunger where an upper chamber, lower chamber,
   the lower chamber, the central      central orifice, and lip all have a circular cross-section and
   orifice, and the lip all have a     are all concentric about a longitudinal centerline of the
   circular cross-section and are      plunger. See ‘040 at 2:45-3:11, Figs. 1, 2, 4 (L) and 5. Well
   all concentric about a              tubing is almost universally circular in cross-section and
   longitudinal centerline of the      therefore it is inherent that any plunger would be circular as
   plunger.                            well. Furthermore, common manufacturing methods for these
                                       devices includes lathes, which makes a concentric
                                       orientation the easiest and most obvious design choice.
   8. A plunger as defined in claim    See analysis for claim 1 above. Levitan shows it is known to
   1, wherein the narrow               have a plunger with a narrow passageway comprising one or
   passageway comprises two or         more connecting channels joined at their upper ends to
   more connecting channels            permit fluid to flow through the central orifice. See ‘040 at
   joined at their upper ends to       Figs. 2 and 4 (25). The precise number of passageways in an
   permit fluid to flow through the    obvious matter of design choice, as shown by Levitan. See
   central orifice.                    ‘040 at 5:55-62, 6:2-5.
   9. A plunger as defined in claim    See analysis for claim 1 above. Levitan shows it is known to
   1, comprising a fishing neck for    have a plunger with a fishing neck for use with a plunger
   use with a plunger pulling tool     pulling tool at one end of the plunger body, and as the central
   at one end of the plunger body,     orifice’s location is a design choice it would be understood it
   wherein the central orifice is at   could be at one end of the plunger body. See ‘040 at 4:52-58,
   the one end of the plunger          6:65-67, Fig. 1.
   body.

   10. A plunger as defined in         See analysis for claim 1 above. Levitan shows it is known to
   claim 1, comprising an internal     have a plunger with an internal fishing neck at the upper end
   fishing neck at an upper end of     of the plunger body, as all fishing necks must be on the
   the plunger body.                   upper side of the plunger as that location is what allows the
                                       retrieval process to work. See ‘040 at 4:52-58, 6:65-67, Fig.
                                       1.


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   11. A plunger as defined in         See analysis for claim 2 above. Levitan shows it is known to
   claim 2, comprising an internal     have a plunger with a fishing neck at the upper end of the
   fishing neck at an upper end of     plunger. See ‘040 Fig. 1.
   the plunger body, wherein the       It is known to have a plunger that has a lip or fishing neck
   radially inwardly directed lip is   that is radially inwardly directed in order to retrieve the
   at an upper edge of the plunger     plunger. See ‘040 at 6:65-67.
   body.
   13. A plunger as defined in         See analysis for claim 1 above. Levitan shows it is known to
   claim 1, wherein the plunger is     have plungers with a diameter of 5 cm and approximately 25
   approximately 25 cm long with       cm long as the plungers are sized to the tubing associated
   a diameter of approximately 5       with a particular wellbore. ‘040 at 7:9-57, Fig. 1.
   cm and weighs less than 1.8
   kg.                                 The size and weight of the plunger are obvious design
                                       choices because of inherent constraints on the functionality
                                       of the plunger. The diameter of the plunger cannot be
                                       greater than the diameter of the tubing string or well casing,
                                       because the plunger has to fit in the casing or tubing string.
                                       See, e.g., ‘923 at Fig 7(10); ‘416 at Fig 1; ‘103 at 48:51; ‘725
                                       at 2:33-36. In addition, the fit of the plunger in the tubing
                                       string cannot be too tight or the plunger will descend slowly,
                                       or too loose or the plunger will rise slowly. See ‘923 at 2:12-
                                       22; ’843 at 2:11-18. The weight cannot be too heavy or too
                                       great a lifting force generated by pressure will be needed to
                                       lift the plunger. See ‘923 at 2:28-35; ‘843 2:28-35.
   18. A method of using a             Levitan shows it is known to have plungers performing well
   plunger to perform plunger lift     lift by using internal wellbore pressure to raise the plunger
   in a gas-producing well, the        and remove liquids and/or contaminants. See ‘040 at 2:45-
   method comprising the steps         50, 6:6-45, Abstract, Figs. 1-2, claims 1, 2.
   of:
   allowing a plunger having a         Levitan shows it is known to have a plunger with a fluid path
   fluid path therethrough to fall     so that the plunger can fall to the bottom of the well. See
   within a tubing of a well to the    ‘040 at 2:45-3:11, 6:6-45, Fig. 1, claims 1, 2.
   bottom of the well;
   allowing gas pressure to move       Levitan shows it is known to have a plunger that falls to the
   the plunger upwardly within the     bottom of the well, and from there allows the gas pressure to
   tubing; and                         build and then to move the plunger upwardly to the top of the
                                       well. See ‘040 at 2:45-3:11, 6:6-45, Fig. 1, claims 1, 2.
   while the plunger is moving         Levitan shows it is known to have a plunger that moves
   upwardly, allowing fluid to pass    upward in a well, and a plunger that allows fluid to pass
   through an unimpeded narrow         through a narrow passageway or bore that has a central
   passageway within the fluid         orifice at one end. ‘040 at 2:45-50, 6:6-45, Figs. 2, 4, 6.
   path, the narrow passageway
   having a central orifice at one
   end.
   19. A method as defined in          See analysis for claim 18 above. Levitan shows it is known to
   claim 18, further comprising the    have a plunger that allows the fluid exiting the central orifice


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   step of allowing the fluid exiting   to interact with a radially inwardly directed lip on the plunger,
   the central orifice to interact      as that is the obvious consequence of putting the fishing
   with a radially inwardly directed    neck lip above the orifice. See ‘040 at 4:41-58, Fig. 1.
   lip on the plunger.
   20. A method as defined in           See analysis for claim 18 above. Levitan shows it is known to
   claim 18, comprising using a         have a plunger that can be retrieved from the well with a
   conventional plunger pulling         conventional plunger pulling tool. ‘040 at 4:41-55, claim 3.
   tool to retrieve the plunger from    The claimed method is obvious in view of the teachings of
   the well.                            Levitan, and the reason so many plungers have fishing
                                        necks. See, e.g., ‘784 at Fig. 2 and 3:60-68; ‘300 at Fig. 3
                                        and 2:60-64; ‘731 at Fig. 3; ‘706 at 5:15-16 and Figs. 2, 3;
                                        ‘416 at Fig. 1A, 38; ‘602 at Fig. 4; ‘923 at 5:38-44 Fig. 2; ‘725
                                        at 2:62-67.


  ‘865 Patent


   Claim                                Prior Art

   7. A method of controlling fluid     Levitan shows it is known to have elongated plungers
   flow in a tubing string in a         controlling fluid flow by traveling through a plunger lift system
   plunger lift system of an oil and    in an oil and gas well. See ‘040 at 2:45-50, 6:6-45, Abstract,
   gas well wherein an elongated        Figs. 1-2, claims 1, 2.
   plunger controllably travels
   vertically therethrough,
   comprising:
   arranging an array of fins on a      Levitan shows it is known to have an elongated plunger with
   lower end of said elongated          fins on a lower end so that the fins create turbulence in the
   plunger, wherein said fins           tubing string and that creating such turbulence was desirable
   create turbulence in gas within      to aid lift, among other things. See ‘040 at 2:45-50, 5:45-62,
   said tubing string; and              6:6-45, claim 9.
   rotating said elongated plunger      It is known to have an elongated plunger that rotates along a
   about a longitudinal axis            longitudinal axis as the plunger moves through the tubing
   thereof, as said plunger travels     string as this helps with cleaning, turbulence, and evening
   through said tubing string in        out wear on the outside of the plunger. See ‘040 at 2:45-50,
   said plunger lift system;            5:45-62, 6:6-45, claims 6, 8. Rotation is a natural
                                        consequence of Levitan, at least in the embodiments where
                                        the channels are not aligned, and inherent in the use in
                                        plungers generally as they travel through a tubing string.
   arranging an elongated bore in       Levitan shows it is known to have a plunger with an
   said plunger from said lower         elongated bore from the lower end of the plunger. See ‘040
   end thereof; and                     Fig. 1.
   drilling a plurality of side holes   Levitan shows it is known to have a plunger with multiple side
   into said bore through said          holes drilled in the elongated bore to create turbulence. See
   plunger.                             ‘040 at 2:55-64, 5:8-6:5, Figs. 3-5.



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   8. The method as recited            See analysis for claim 7 above. Levitan shows it is known to
   in claim 7, wherein said side       have a plunger that has radially arranged side holes along a
   holes are arranged radially with    longitudinal axis. ‘040 at Figs. 3, 5, claim 5.
   respect to said longitudinal axis
   of said bore.
   10. The method as recited           See analysis for claim 7 above. Levitan shows it is known to
   in claim 7, including:              have a plunger that spins about its longitudinal axis by
   spinning said plunger about its     ejecting gas tangentially into the grooves of the plunger to
   longitudinal axis by ejecting gas   generate turbulence in the gas surrounding the plunger as it
   tangentially with respect to said   travels through said tubing string in an oil and gas well lift
   bore and into said grooves, so      system, and that such turbulence is desirable to clean out the
   as to generate turbulence in        grooves and aid lift. ‘040 at 2:45-50, 5:45-62, 6:6-45, claims
   gas surrounding said plunger        1, 3, 6, 8. Spinning of the plunger is a natural consequence
   as said plunger travels through     of Levitan, at least in the embodiments where the channels
   said tubing string in an oil and    are not aligned, and inherent in the use in plungers generally
   gas well lift system.               as they travel through a tubing string.

   11. The method as recited           See analysis for claim 10 above. Levitan shows it is known to
   in claim 10, including:             have a plunger that ejects gas outwardly through side holes
   ejecting gas through said side      in the grooves in the plunger to maximize the turbulence of
   holes into said grooves in said     fluids surrounding the plunger as it travels in said tubing
   plunger to maximize turbulence      string, in part to clean out grooves and aid lift. See ‘040 at
   of fluid surrounding said           2:45-50, 5:8-62, 6:6-45, Figs. 3-5, claims 1, 3.
   plunger as it travels in said
   tubing string in said oil and gas
   well lift system.

   12. A method of controlling fluid   Levitan shows it is known to have elongated plungers
   flow in a tubing string in a        controlling fluid flow by traveling through a plunger lift system
   plunger lift system of an oil and   in an oil and gas well. See ‘040 at 2:45-50, 6:6-45, Abstract,
   gas well wherein an elongated       Figs. 1-2, claims 1, 2.
   plunger controllably travels
   vertically therethrough,
   comprising:
   arranging an array of side holes    Levitan shows it is known to have an elongated plunger that
   through a side wall of said         ejects gas through side holes to maximize turbulence of fluid
   elongated plunger, wherein          surrounding the plunger in order to clean out grooves and aid
   said side holes create              lift. See ‘040 at 5:8-6:5, Figs. 3-5.
   turbulence in gas within said
   tubing string; and
   rotating said elongated plunger     Levitan shows it is known to have an elongated plunger that
   about a longitudinal axis           travels through said tubing string in said plunger lift system
   thereof, as said plunger travels    that rotates as it travels, as rotation evens wear, aids in
   through said tubing string in       cleaning the tubing string, and increases turbulence. See
   said plunger lift system.           ‘040 at 2:45-50, 5:45-62, 6:6-45, claims 6, 8. Rotation is a
                                       natural consequence of Levitan, at least in the embodiments


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                                        where the channels are not aligned, and inherent in the use
                                        in plungers generally as they travel through a tubing string.
   13. The method of controlling        See analysis for claim 12 above. Levitan shows it is known to
   fluid flow in a tubing string, as    have a plunger that controls fluid flow in a tubing string. See
   recited in claim 12, including:      ‘040 at 2:45-50, 6:6-45, Abstract, Figs. 1-2, claims 1-3.
   arranging an elongated bore in       Levitan shows it is known to have a plunger with an
   said plunger from said lower         elongated bore from its lower end. See ‘040 at 2:45-50, Figs.
   end thereof; and                     1-2.
   arranging a plurality of fins on a   Levitan shows it is known to have a plunger with fins on its
   lower end of said plunger.           lower end. See ‘040 at 2:45-50, 5:45-62, 6:6-45.
   14. The method as recited            See analysis for claim 13 above. Levitan shows it is known to
   in claim 13, wherein said fins       have a plunger with fins arranged in a spiral where rotation is
   are arranged in a spiral with        desired because the spiral arrangement of the fins would
   respect to said longitudinal axis    induce rotation. See ‘040 at 2:45-50, 5:45-62, 6:6-45, claim 9.
   of said bore.
   15. The method as recited            See analysis for claims 7, 10 and 13 above. Levitan shows it
   in claim 13, including:              is known to have a plunger that spins and generates
   spinning said plunger about its      turbulence, in part to clean out grooves and aids lift. See ‘040
   longitudinal axis so as to           at 2:45-50, 5:45-62, 6:6-45, claims 6, 8. Spinning is a natural
   generate turbulence in gas           consequence of Levitan, at least in the embodiments where
   surrounding said plunger as          the channels are not aligned, and inherent in the use in
   said plunger travels through         plungers generally as they travel through a tubing string.
   said tubing string in an oil and
   gas well lift system.
   16. A method of cleaning             Levitan shows it is known that an elongated plunger may
   interior walls of a tubing string    travel through a tubing string and clean the walls of the
   in a plunger lift system of an oil   tubing string by removing paraffin and other contaminants.
   and gas well wherein an              See ‘040 at 2:45-50, 5:45-62, 6:6-45, Figs. 1-2, claims 1-3, 6,
   elongated plunger controllably       8.
   travels vertically therethrough,
   comprising:
   arranging an array of fins on a      Levitan shows it is known that an elongated plunger may
   lower end of said elongated          have an array of fins with a sharp edge and in close proximity
   plunger, wherein said fins have      to the walls of the tubing string in order to clean/scrape the
   a sharp edge in close proximity      tubing walls which was a well-known function of plungers.
   to said walls of said tubing         See ‘040 at 2:45-50, 5:45-62, 6:6-45, claims 1, 3, 9.
   string;
   rotating said elongated plunger      Levitan shows it is known to have an elongated plunger that
   about a longitudinal axis            rotates along a longitudinal axis as the plunger moves
   thereof, as said plunger travels     through the tubing string. See ‘040 at 2:45-50, 5:45-62, 6:6-
   through said tubing string in        45, claims 6, 8. Rotation is an inherent consequence of the
   said plunger lift system;            use in plungers generally as they are travel through a tubing
                                        string.
   cleaning said walls of said          Levitan shows it is known to have a plunger that cleans the
   tubing string by said sharp          walls of the tubing string by sharp edges of fins, as the
   edges of said fins, as said          rotating plunger travels through the tubing string, as that is


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   rotating plunger travels           what would necessarily happen by rotating a plunger with
   vertically therethrough; and       fins. See ‘040 at 2:45-50, 5:45-62, 6:6-45, claims 1, 3, 9.
   ejecting gas through said an       Levitan shows it is known to have a plunger that ejects gas
   angled arrangement of at least     through an angled arrangement of side holes from a central
   one side hole from a central       bore to the outside said plunger to maximize turbulence of
   bore to the outside said plunger   fluid surrounding said plunger as it travels in said tubing
   to maximize turbulence of fluid    string in said oil and gas well life system in order to clean out
   surrounding said plunger as it     grooves and aid lift. See ‘040 at 2:45-50, 5:8-62, 6:6-45, Figs.
   travels in said tubing string in   3-5, claims 1, 3.
   said oil and gas well life
   system.




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  ‘728 Patent

   Claim                                Prior Art

   1. A plunger for moving up and       Levitan shows it is known that a plungers can move
   down in a tubing string in a         up and down a tubing string in a plunger lift system
   plunger lift system for an oil       for an oil and gas well and that plungers are
   and gas well, said plunger           designed to create a gas seal. See ‘040 at 2:45-64,
   having a gas seal arrangement        6:6-45, Abstract, Figs. 1-2, claims 1, 2.
   comprising:
   an elongated plunger body            Levitan shows it is known to have a plunger with an
   having an upper end and a            elongated body, a longitudinal axis, upper and lower
   lower end, said plunger having       ends, and grooves on the outer surface. See ‘040
   a longitudinal axis, with a          at 2:45-64, 6:6-45, Abstract, Figs. 1-2, 4.
   plurality of grooves spaced
   apart on an outer surface of
   said plunger body;
   a longitudinal bore arranged         Levitan shows it is known to have a plunger with a
   within said plunger, extending       longitudinal bore in the plunger extending from an
   from an opening in said lower        opening in the lower end of the plunger. See ‘040 at
   end of said plunger; and             2:45-54 Figs. 1, 2, 4.
   at least one fluid passageway        Levitan shows that plungers direct gas through
   extending from said bore to at       holes in the plunger to create turbulence and that
   least one of said grooves in         turbulence was desirable to clear out grooves and
   said outer surface of said           aid lift. See ‘040 at 2:55-64, 5:8-6:5, Figs. 3-5,
   plunger body, to permit gas          claims 1-3, 9.
   flow therethrough to direct a
   turbulent flow of fluid about said
   plunger, the at least one fluid
   passageway arranged
   tangentially with respect to the
   bore in the plunger.
   2. The plunger as recited            See analysis for claim 1 above. Levitan shows it is
   in claim 1, wherein at least one     known that plungers have side holes, where those
   of said passageways extends          side holes form passageways that extend radially
   radially outwardly in said           outwardly. See ‘040, Figs. 1-5.
   plunger body from said bore.
   4. The plunger as recited            See analysis for claim 1 above. Levitan shows it is
   in claim 1, wherein a plurality of   known that a plunger may an array of fins arranged
   fins are arranged on said lower      on the plunger’s lower end to cause the plunger to
   end of said body of said             rotate as it moves through the tubing string. See
   plunger to effect a rotational       ‘040 at 2:45-50, 5:45-62, 6:6-45, claim 9.
   motion in said plunger as said
   plunger travels through said
   tubing string.




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   5. The plunger as recited          See analysis for claim 4 above. Levitan shows it is
   in claim 4, wherein said fins are  known that the fins on a plunger may be arranged in
   arranged in a spiral array on      a spiral on the lower end of the plunger in order to
   said lower end of said plunger.    induce rotation where rotation is desired. See ‘040
                                      at 2:45-50, 5:45-62, 6:6-45, claims 6, 8. Rotation is
                                      a natural consequence of Levitan, at least in the
                                      embodiments where the channels are not aligned,
                                      and inherent that fins would be arranged in a spiral
                                      array to rotate the plunger as it travels through the
                                      tubing string.
   6. The plunger as recited          See analysis for claim 4 above. Levitan shows it is
   in claim 4, wherein said fins      known that a plunger may have sharp fins to aid in
   have a tube wall cleaning sharp cleaning the walls of the tubing string and remove
   edge for cleaning the inside of    paraffin from the walls. See ‘040 at 2:45-50, 5:45-
   the tubing string as said          62, 6:6-45, claims 1, 3, 9. As plungers need to be
   plunger travels rotationally       close to the tubing walls for a sealing effect, any
   therethrough.                      rotation of a plunger with fins would naturally clean
                                      the tubing string.
   11. A method of controlling fluid Levitan shows that it is known to have plungers that
   flow in a tubing string in a       control fluid flow by traveling through a plunger lift
   plunger lift system of an oil and system in an oil and gas well. See ‘040 at 2:45-64,
   gas well wherein an elongated      6:6-45, Abstract, Figs. 1-2, claims 1-3.
   plunger controllably travels
   vertically therethrough,
   comprising:
   arranging an array of              Levitan shows that it is known for a plunger to have
   turbulence generating side         holes along the side to generate turbulence in order
   holes through a side wall of       to clean out grooves and aid lift. See ‘040 at 2:55-
   said elongated plunger, and        64, 5:8-6:5, Figs. 3-5, claims 1-3, 9.
   rotating said elongated plunger Levitan shows that it is known that plungers may
   about a longitudinal axis          rotate as they travel through the tubing string. See
   thereof, as said plunger travels ‘040 at 2:45-50, 5:45-62, 6:6-45, claims 6, 8.
   through said tubing string in      Rotation is an inherent consequence of the use in
   said plunger lift system.          plungers generally as they are travel through a
                                      tubing string.
   12. The method of controlling      See analysis for claim 11 above. Levitan shows that
   fluid flow in a tubing string, as  it is known that a plunger controls fluid flow in an oil
   recited in claim 11, including:    and gas well. See ‘040 at 2:45-54, 6:6-45, Figs. 1-5,
                                      claims 1-3.
   arranging an elongated bore in Levitan shows it is known that plungers have
   said plunger from said lower       elongated bores from the lower end of the plunger.
   end thereof; and                   See ‘040 at 2:45-54 Figs. 1, 2, 4.
   arranging a plurality of fins on a Levitan shows it is known that a plunger has an
   lower end of said plunger.         arrangement of a plurality of fins arranged on the
                                      plunger’s lower end. See ‘040 at 2:45-50, 5:45-62,
                                      6:6-45.


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   13. The method as recited            See analysis for claim 12 above. Levitan shows it is
   in claim 12, wherein said fins       known that a plunger may have a spiral array of fins
   are arranged in a spiral with        with respect to the plunger’s longitudinal axis. See
   respect to said longitudinal axis    ‘040 at 2:45-50, 5:45-62, 6:6-45, claims 6, 8.
   of said bore.                        Rotation is a natural consequence of Levitan, at
                                        least in the embodiments where the channels are
                                        not aligned, and inherent that fins would be
                                        arranged in a spiral array to rotate the plunger as it
                                        travels through the tubing string. Such an
                                        arrangement would be the obvious orientation for
                                        both manufacturing convenience and inducing
                                        rotation within a wellbore tubing string.
   14. The method as recited            See analysis for claim 12 above.
   in claim 12, including:
   spinning said plunger about its      See analysis for claim 12 above. Levitan shows it is
   longitudinal axis so as to           known that a plunger can spin or rotate and
   generate turbulence in gas           generate turbulence as it travels through the tubing
   surrounding said plunger as          string in order to clean out grooves and aid lift. See
   said plunger travels through         ‘040 at 2:55-64, 5:8-6:5, Figs. 3-5, claims 1-3, 9.
   said tubing string in an oil and     Turbulence is an inherent consequence of spinning,
   gas well lift system.                which is an inherent property of a plunger traveling
                                        through a tubing string.
   15. The method as recited            See analysis for claim 11 above.
   in claim 11, including:
   ejecting gas through an angled       See analysis for claim 11 above. Levitan shows it is
   arrangement of side holes from       known that plungers may eject gas through side
   a central bore to outside            holes to create turbulence as the plunger moves
   grooves in said plunger to           through the tubing string in order to clean out
   maximize turbulence of fluid         grooves and aid lift. See ‘040 at 2:55-64, 5:8-6:5,
   surrounding said plunger as it       Figs. 3-5, claims 1-3, 9.
   travels in said tubing string in
   said oil and gas well lift system.




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